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                          Berj K. Parseghian (Cal. Bar No. 200932)
                      1
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                          Email: bparseghian@lippes.com
                      4
                      5   Attorneys for Defendant
                          Better Mortgage Corporation
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                      7
                      8                                   UNITED STATES DISTRICT COURT
                      9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                     10                                          SAN JOSE DIVISION
LIPPES MATHIAS LLP




                     11
                     12     JING XU,                                             Case No.: 5:23-cv-05510-NW
                                                                                 (Before the Hon. Noël Wise)
                     13                      Plaintiff,
                                      v.                                         DECLARATION OF BERJ K.
                     14                                                          PARSEGHIAN
                            BETTER MORTGAGE CORPORATION; and
                     15     THE MONEY SOURCE, INC.,                              Complaint Filed: October 25, 2023
                     16                                                          Motion Date: July 16, 2025
                                             Defendants.
                                                                                 Time: 9:00 a.m.
                     17                                                          Location: Courtroom 3
                     18
                                 I, Berj K. Parseghian, declare as follows:
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                     20          1.        I am an attorney duly admitted to practice in this Court and the courts of the State

                     21   of California. I am a partner with Lippes Mathias LLP, attorneys for Defendant Better Mortgage
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                          Corporation (“Better”). I submit this Declaration in support of Better’s Motion for Summary
                     23
                          Judgment pursuant to Fed. R. Civ. P. 56. The facts set forth herein are of my own personal
                     24
                     25   knowledge and, if sworn, I could and would competently testify thereto.

                     26          2.        Attached hereto as Exhibit A is a true and correct copy of the transcript of the
                     27   November 22, 2024 deposition Plaintiff Jing Xu (“Plaintiff”).
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                                                                           -1-
                              DECLARATION OF BERJ K. PARSEGHIAN IN SUPPORT OF DEFENDANT BETTER MORTGAGE
                                    CORPORATION’S MOTION FOR SUMMARY JUDGMENT - 23-cv-05510-NW
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                                  3.      Attached hereto as Exhibit B is a true and correct copy of Plaintiff’s responses to
                      1
                      2   Better’s Interrogatories dated July 24, 2024.

                      3           4.      Attached hereto as Exhibit C is a Notice of Servicing Transfer dated
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                          September 23, 2021, which was produced in discovery as TMS000022 and was Exhibit 102 to
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                          Plaintiff’s deposition.
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                      7           5.      Attached hereto as Exhibit D is an email entitled “Setting up your TMS account”

                      8   dated October 17, 2021, which was produced in discovery as XU_00007-XU_00009 and was
                      9   Exhibit 107 to Plaintiff’s deposition.
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                                  6.      Attached hereto as Exhibit E is an email entitled “Welcome to The Money Source
LIPPES MATHIAS LLP




                     11
                          Inc.” dated November 3, 2021, which was produced in discovery as TMS000032 and was Exhibit
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                     13   110 to Plaintiff’s deposition.

                     14           7.      Attached hereto as Exhibit F is an email entitled “Payment Confirmation” dated
                     15   November 3, 2021, which was produced in discovery as TMS000033 and was Exhibit 111 to
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                          Plaintiff’s deposition.
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                                  8.      Attached hereto as Exhibit G is an email entitled “Monthly Mortgage Statement”
                     18
                     19   dated November 5, 2021, which was produced in discovery as TMS000036 and was Exhibit 112

                     20   to Plaintiff’s deposition.
                     21
                                  9.      Attached hereto as Exhibit H is a Mortgage Statement, which was produced in
                     22
                          discovery as TMS000034-TMS000035 and was Exhibit 113 to Plaintiff’s deposition.
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                     24           10.     Attached hereto as Exhibit I is a Notice of Mortgage Servicing Transfer dated

                     25   November 5, 2025, which was produced in discovery as TMS000020-TMS000021 and was
                     26   Exhibit 114 to Plaintiff’s deposition.
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                               DECLARATION OF BERJ K. PARSEGHIAN IN SUPPORT OF DEFENDANT BETTER MORTGAGE
                                     CORPORATION’S MOTION FOR SUMMARY JUDGMENT - 23-cv-05510-NW
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                                  11.     Attached hereto as Exhibit J is an email entitled “Monthly Mortgage Statement”
                      1
                      2   dated December 19, 2021, which was produced in discovery as TMS000049 and was Exhibit 115

                      3   to Plaintiff’s deposition.
                      4
                                  12.     Attached hereto as Exhibit K is a Mortgage Statement, which was produced in
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                          discovery as TMS000041-TMS000042 and was Exhibit 116 to Plaintiff’s deposition.
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                      7           13.     Attached hereto as Exhibit L is an email entitled “Review the potentially negative

                      8   activity on your credit report” dated January 5, 2022, which was produced in discovery as
                      9   XU_00052-XU_00053 and was Exhibit 117 to Plaintiff’s deposition.
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                                  14.     Attached hereto as Exhibit M is a Notice of Action Taken dated April 14, 2022,
LIPPES MATHIAS LLP




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                          which was produced in discovery as XU_00045-XU_00047 and was Exhibit 122 to Plaintiff’s
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                     13   deposition.

                     14           15.     Attached hereto as Exhibit N is a letter dated February 18, 2022, which was
                     15   produced in discovery as XU_00066-XU_00072 and was Exhibit 131 to Plaintiff’s deposition.
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                                  I declare under the penalty of perjury under the laws of the United States of America that
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                          the foregoing is true and correct and that this declaration was executed on March 31, 2025 at
                     18
                     19   New York, New York.

                     20                                                        /s/ Berj K. Parseghian
                                                                               Berj K. Parseghian
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                                                                         -3-
                               DECLARATION OF BERJ K. PARSEGHIAN IN SUPPORT OF DEFENDANT BETTER MORTGAGE
                                     CORPORATION’S MOTION FOR SUMMARY JUDGMENT - 23-cv-05510-NW
